       Case 2:23-cv-00160-RWS Document 19 Filed 05/14/24 Page 1 of 4




                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                        GAINSVILLE DIVISION

THOMAS CHASTAIN,                      )
and JONATHAN V. DUNN, Individually )
And on Behalf of All Others Similarly )
Situated,                             )        CLASS ACTION
                                      )        CIVIL ACTION FILE
      Plaintiffs,                     )        NO. 2:23-CV-160-RWS
                                      )
v.                                    )
                                      )
BLUE LINE SOLUTIONS, LLC              )
                                      )
      Defendant.                      )


PLAINTIFFS’ MOTION FOR RECONSIDERATION TO VACATE ORDER
 OF DISMISSAL UNDER FED. R. CIV. P. 59(e) AND GRANT LEAVE TO
      FILE SECOND AMENDED CLASS ACTION COMPLAINT


      This case involves O.C.G.A. § 40-14-18 which is known as the School Zone

Electronic Enforcement Statute. This Court granted Defendant’s 12(b)(6) Motion to

Dismiss Plaintiffs’ Amended Class Action Complaint on April 16, 2024. Dkt. 17.

The Amended Class Action Complaint included claims for money had and received,

Georgia RICO, fraud and deceit, and declaratory and injunctive relief. Dkt. 7.

Plaintiffs respectfully move the Court to vacate the Order of Dismissal and allow

Plaintiffs to file the attached Second Amended Class Action Complaint which is


                                       1
        Case 2:23-cv-00160-RWS Document 19 Filed 05/14/24 Page 2 of 4




based on new information not previously available to the Plaintiffs, includes

significant additional facts to support all claims, and includes a constitutional

challenge to the statute. A review of the Second Amended Class Action Complaint

confirms that the pleading meets the Rule 59(e) standard for amendment after

dismissal.

      The Memorandum of Law, filed contemporaneously, provides the authority

to support vacating the Order of Dismissal and Plaintiffs’ proposed Second

Amended Class Action Complaint.

      Accordingly, Plaintiffs move the Court to vacate the Order of Dismissal and

reopen the case to grant leave for Plaintiffs to file the Second Amended Class Action

Complaint.

      Respectfully submitted, this 14th day of May, 2024.


                                       s/ John C. Bell, Jr.
                                       John C. Bell, Jr. (Ga. Bar No. 048600)
                                       Pamela S. James (Ga. Bar No. 389015)
                                       THE BELL FIRM
                                       PO Box 1547
                                       Augusta, Ga 30903-1547
                                       john@bellfirm.net
                                       pam@bellfirm.net




                                         2
Case 2:23-cv-00160-RWS Document 19 Filed 05/14/24 Page 3 of 4




                           /s/ John B. Manly
                           John B. Manly (Ga. Bar No. 194011)
                           James E. Shipley, Jr. (Ga. Bar No. 116508)
                           MANLY SHIPLEY, LLP
                           Post Office Box 10840
                           Savannah, Georgia 31412
                           (912) 495-5360
                           john@manlyshipley.com
                           jim@manlyshipley.com

                           Attorneys for Plaintiffs




                              3
       Case 2:23-cv-00160-RWS Document 19 Filed 05/14/24 Page 4 of 4




                     CERTIFICATE OF COMPLIANCE

      I hereby certify that this document complies with Local Rule 7.1(D) as it has

been prepared using Times New Roman 14-point font.

                                       s/ John C. Bell, Jr
                                      John C. Bell, Jr.
                                      Counsel for Plaintiffs

                        CERTIFICATE OF SERVICE

      This is to certify that I have this    day served a copy of the forgoing

PLAINTIFFS’ MOTION FOR RECONSIDERATION TO VACATE ORDER

OF DISMISSAL UNDER FED. R. CIV. P. 59(e) AND GRANT LEAVE TO

FILE SECOND AMENDED CLASS ACTION COMPLAINT, upon opposing

counsel by with the Clerk of Court using the CM/ECF system, which will

automatically send electronic mail notification of such filing to the following

counsel of record:

Travis A. Knobbe, Esquire
Matthew N. Foree, Esquire
Lucas B. Zavoli, Esquire
FREEMAN MATHIS & GARY, LLP
100 Galleria Parkway, Suite 1600
Atlanta, GA 30339

This 14th day of May, 2024.

                                       s/ John C. Bell, Jr
                                      John C. Bell, Jr.
                                      Counsel for Plaintiffs
                                        4
